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     Attorney for Secured Creditor
 6
                         IN THE UNITED STATES BANKRUPTCY COURT
 7
 8                              FOR THE DISTRICT OF ARIZONA
 9   In Re:                                           Chapter 13
10
     JOHN WILLIAM HALL, IV                            Case No. 2:18-bk-14380-PS
11
12                                                    MOTION FOR RELIEF FROM THE
                                Debtor.               AUTOMATIC STAY
13
                                                      (Re: 3018 W. Kerry Lane, Phoenix, AZ
14
                                                      85027)
15
16            Rezamp Lending, LLC, an Arizona Limited Liability Company (“Rezamp” or
17
     “Movant”), by and through undersigned counsel, and pursuant to Bankruptcy Rules of
18
19   Procedure, Rules 4001 and 9014, hereby moves this Court for an Order, with respect

20   to certain real property as described herein, lifting all stays and injunctions including
21
     the Automatic Stay Bankruptcy Code Section 362(a). Specifically, Movant requests
22
     that the Court issue an Order terminating or modifying the Automatic Stay applicable
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24   to the real property located at 3018 W. Kerry Lane, Phoenix, AZ 85027 to permit

25   Movant and/or others acting on its behalf to enforce its security interest in certain
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     property in which the Chapter 13 Estate may have an interest, including the right to
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     foreclose upon such property and/or to otherwise acquire title thereto.
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                                                 1
           Movant requests this Court find that cause exists pursuant to 11 U.S.C.
 1
 2   §362(d)(1) because Note secured by the real property located at 3018 W. Kerry Lane,
 3   Phoenix, AZ 85027 has matured and Debtor has failed to provide adequate protection
 4
     to Movant.
 5
 6         This motion is made pursuant to Section 362(d)(1) of the Bankruptcy Code and

 7   based upon the attached Memorandum of Points and Authorities and all pleadings and
 8
     records on file in this case and on such further oral, documented and demonstrative
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     evidence and arguments of counsel as may be submitted before or at the hearing on
10
11   this Motion.

12         RESPECTFULLY SUBMITTED this 3rd day of January, 2019.
13
                                              LAW OFFICE OF CYNTHIA L. JOHNSON
14
15                                            By:/s/Cynthia L. Johnson
16                                            Cynthia L. Johnson
                                              Attorney for Movant
17
                         MEMORANDUM OF POINTS AND AUTHORITIES
18
19                                    Jurisdiction and Venue
20         1.       The Court has jurisdiction of this matter pursuant to 28 U.S.C. §157
21
     (b)(2)(G).
22
23         2.       Filing this motion commences a contested matter pursuant to Rule 9014

24   of the Federal Rules of Bankruptcy Procedure.
25
           3.       This motion is made pursuant to Code §362(d)(1), as well as Bankruptcy
26
     Rules 4001 and 9014, and Local Bankruptcy Rule 4001-1.
27
28
                                                  2
           4.     Venue is proper before this Court, pursuant to 28 U.S.C. §1408 and 1409.
 1
 2         5.     Debtor filed his Chapter 13 bankruptcy petition on November 27, 2018
 3   (the “Petition Date”).
 4
                                 THE PARTIES/BACKGROUND
 5
 6         6.     On or about February 22, 2018, Debtor borrowed $286,000.00 from

 7   Movant to buy an investment property that he purchased for $318,000.00. Debtor
 8
     executed a 6-Month Interest-only (16.0%) Promissory Note in favor of Movant,
 9
     agreeing to repay the entire unpaid principal balance and accrued interest on or
10
11   before August 22, 2018. A copy of the Original Promissory Note is attached as Exhibit

12   A and incorporated by this reference (the “Note”).
13
           7.     To secure the payment of the Note, Debtor as Trustee of the Trust
14
     granted Movant a security interest in real property through a 1st Deed of Trust and
15
16   Assignment of Rents which was perfected by recording with the Recorder’s Office of
17   Maricopa County, Arizona, on February 23, 2018, at Recorder No. 2018-0140181 (the
18
     “Deed of Trust”). The Deed of Trust encumbers the real property located at 3018 W.
19
20   Kerry Lane, Phoenix, AZ 85027 (the “Real Property”), which are legally described on

21   the Deed of Trust. A Copy of the Deed of Trust is attached with Exhibit B and
22
     incorporated by this reference. The Note and Deed of Trust may be referred together
23
     as the “Loan Documents.”
24
25         8.      Debtor immediately fell into default on the Note, failing to make his first

26   payment until two (2) months after it became due. Thereafter, Debtor only made one
27
     other payment on the Note, and has failed to make any payments since June 29, 2018.
28
                                                 3
           9.     The Note matured on August 22, 2018, prior to the Petition Date.
 1
 2         10.     On August 27, 2018 Movant recorded a Notice of Trustee’s Sale, see,
 3   Exhibit C; and Debtor declared bankruptcy in order to avoid foreclosure.
 4
           11.    Default Interest is currently accruing at 24%, late charges accrue at 15%
 5
 6   of the balance owed each month, attorney’s fees, and costs continue to accrue and are

 7   all due and payable pursuant to the Loan Documents.
 8
           12.    The outstanding debt as of the post petition default is itemized as follows:
 9
                  Principal Balance          $ 286,000.00
10                Interest                   $ 49,573.34
11                Late Charges               $   5,720.00
                  Costs                      $     181.00
12                Trustee Fees               $   1,395.00
13                Attorney’s fees            $   1,219.00
                  Total Due                  $ 342,832.34
14
     Debtor’s interest in the Real Property is subject to Movant’s lien, which will be
15
16   satisfied only upon payment of the amount stated above, plus accruing post-petition
17   interest, late charges, attorney’s fees and foreclosure Trustee Fees.
18
           14.    Debtor has also refused to pay the 1st half of the property taxes, currently
19
20   due in the amount of $1,044.47 plus accrued interest of $40.96 as of October 1, 2018.

21   See, Exhibit D, incorporated by this reference.
22
                                       LEGAL ARGUMENT
23
     I.    With a Note that has Matured, Cause Exists to Modify the Stay.
24
25         11 U.S.C. §362 (d)(1) provides that the Court shall grant relief from the

26   automatic stay for cause. The standards for relief set forth in 11 U.S.C. sections
27
     362(d)(1) and (d)(2) are independent and alternative. Accordingly, relief may be
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                                                 4
     granted "for cause" under subsection 362(d)(1), despite the existence of equity in the
 1
 2   collateral, which would preclude relief from the stay under 11 U.S.C. section 362(d)(2).
 3   In re Can-Alta Properties, Ltd, 87 B.R. 89, 91 (9th Cir. BAP 1988).
 4
           Cause first exists because Debtor Plan proposes to pay only $1,000.00 per
 5
 6   month for 60 months to cure the “past due mortgage payments” and $3,813.00 for

 7   only three (3) months. See, Doc. No. 23. While Debtor has proposed a Plan that will
 8
     technically cure the default, he has not proposed a Plan that includes maintenance of
 9
     payments while the case is pending in accordance with 11 U.S.C. §1322(b)(5). Second,
10
11   the Note matured and became fully due prior to the Petition Date. Thus, Debtor’s

12   proposed cure of the default will only result in a reinstatement of the original terms of
13
     the debt which will merely make the debt immediately due and payable. In re Seidel,
14
     752 F.2d 1382 (1985), citing In re Maloney, 36 B.R. 876, 877 (Bankr.D.N.H. 1984).
15
16   Thus, Debtor may not delay payment on an already matured debt by filing a Chapter
17   13 petition.
18
           Cause also includes the lack of adequate protection of an interest in the secured
19
20   creditor’s interest in the property. This type of cause includes a failure to make

21   monthly mortgage payments after filing a bankruptcy petition. In re Delaney-Morin,
22
     304 B.R. 365, 370, fn 3 (9th Cir. BAP 2003), citing, In re Jones, 189 B.R. 13
23
     (Bank.E.D.Okla. 1995). Lack of adequate protection exists where the debtor has
24
25   completely or substantially failed to make post-petition payments. In re Elmiria Litho,

26   Inc. 174 B.R. 892, 903 (Bankr. S.D.N.Y. 1994) (citations omitted). Here, since filing this
27
     case, Debtor has refused to pay any post-petition payments to Movant.
28
                                                  5
              This total lack of assurances by Debtor establish a prima facie case that “cause”
 1
 2   for relief exists under 11 U.S.C. §362 (d)(1). The burden therefore, has shifted to the
 3   Debtor to show that relief from the stay is unwarranted. Truebro, Inc. v. Plumberex
 4
     Specialty Products, Inc. (In re Plumberex Specialty Products, Inc.) 311 B.R. 551, 557
 5
 6   (Bankr. C.D. Cal. 2014)(citing, Sonnax Indus., Inc. Tri Component Prods. Corp. (In re

 7   Sonnax Indus., Inc.) 907 F.2d 1280, 1285 (2nd Cir. 1990); Duvar Apt., Inc. v. Deposit Ins.
 8
     Corp. (In re Duvar Apt., Inc.), 205 B.R. 196, 200 (B.A.P. 9th Cir. 1996).
 9
     II.      The Burden of Proof.
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11            Movant requesting stay relief has the burden of proof only on the issue of the

12   debtor’s lack of equity in the property under §362 (d)(2) which is not currently the
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     subject of this Motion. See, 11 U.S.C. §362 (g)(1). Debtor has the burden of proof with
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     respect to all other issues raised by this Motion. 11 U.S.C. §362 (g)(2); see also, In re
15
16   Gauvin, 24 B.R. 578, 580 (B.A.P. 9th Cir. 1982)(“It is therefore clear that §362 (g) puts
17   the burden on the debtor”) accord, In re Jordan, 392 B.R. 428, 450 n. 40 (Bankr. D.
18
     Idaho 2008).
19
20                                          CONCLUSION

21            Movant has presented that a set of circumstances where cause exists to modify
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     the provisions of 11 U.S.C. §362(a), the Automatic Stay, based on the foregoing three
23
     (3) reasons; thusly,
24
25            WHEREFORE, Movant respectfully requests that the Court enter an Order in its

26   favor:
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              A.    Granting its Motion for Stay Relief;
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                                                   6
           B.       Terminating and/or modifying the automatic stay to allow Movant or its
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 2   assignee and entities acting directly for, on its behalf, or pursuant to its instruction to
 3   proceed with the enforcement of its claims against the Real Property and the
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     corresponding remedies for enforcement of Movant’s rights and remedies, including
 5
 6   without limitation, any judicial or non-judicial foreclosure proceeding;

 7         C.       Terminating and/or modifying the automatic stay with regard to any
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     subsequent bankruptcy filings by Debtor, or his wife with respect her interest if any in
 9
     the subject property, in whatever chapter; and
10
11         D.       Granting Movant such additional and further relief as the Court deems

12   appropriate.
13
           RESPECTFULLY SUBMITTED this 3rd day of January, 2019.
14
15                                     LAW OFFICE OF CYNTHIA L. JOHNSON
16
                                       By:/s/Cynthia L. Johnson
17                                     Cynthia L. Johnson
                                       Attorney for Secured Creditor
18
19   COPY of the foregoing electronically filed
     this 3rd day of January, 2019 with:
20
21   Clerk of the U.S. Bankruptcy Court
     District of Arizona
22   230 N. First Avenue
     Suite 101
23
     Phoenix, AZ 85003-1727
24
     With copies mailed or served
25   via (email or fax* or electronic notification** if so marked)
26
     **Mr. Edward J. Maney, Trustee
27   101 N. 1st Avenue
     Suite 1775
28
                                                  7
     Phoenix, AZ 85003
 1
     John William Hall, IV
 2
     P.O. Box 54802
 3   Phoenix, AZ 85078
     Debtor
 4
 5   By: /s/Cynthia Johnson

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